                           Nos. 24-2332, 24-2351


  IN THE UNITED STATES COURT OF APPEALS
          FOR THE EIGHTH CIRCUIT
                            ____________________

                          STATE OF MISSOURI, ET AL.,
                     Plaintiffs-Appellees/Cross-Appellants

                                      V.


                         JOSEPH R. BIDEN, JR., ET AL.,
                    Defendants-Appellants/Cross-Appellees
                           ____________________

                On Appeal from the United States District Court
                     for the Eastern District of Missouri
                           No. 4:24-cv-00520-JAR
                           ____________________

                    BRIEF OF AMICUS CURIAE
            STUDENT BORROWER PROTECTION CENTER*
                  IN SUPPORT OF APPELLANTS
                       ____________________

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 26.1(a), the undersigned counsel

states that amicus curiae Student Borrower Protection Center is a fiscally

sponsored project of the Shared Ascent Fund, which is a nonprofit organization.

The Shared Ascent Fund has no parent corporations, and no publicly held

corporation owns 10% or more of its stock.


                                                    /s/ David S. Nahmias
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                      INTERESTS OF AMICUS CURIAE1

       The Student Borrower Protection Center (a fiscally sponsored project of the

Shared Ascent Fund) (SBPC) is a nonprofit organization focused on eliminating

the burden of student debt for millions of Americans. It engages in advocacy,

policymaking, and litigation strategy to rein in industry abuses, protect borrowers’

rights, and advance racial and economic justice. SBPC attorneys and advocates

regularly participate in negotiated rulemakings convened by the federal

Department of Education (Department). In particular, counsel for amicus was a

negotiator in the sessions that preceded the Department’s promulgation of the

Saving on a Valuable Education Plan (SAVE) plan. SBPC also submitted public

comment in support of the SAVE plan during the rulemaking process. SBPC thus

has a particular interest in the continued viability of the final Rule effectuating the

SAVE plan.

             INTRODUCTION AND SUMMARY OF ARGUMENT

       Two coalitions of eighteen states have managed to successfully obtain a trio

of orders enjoining core components of the federal student loan system nationwide.

Their actions rendered chaos in a trillion-dollar regime and triggered significant


1
 No counsel for any party authored this brief in whole or in part, and no person
other than amici curiae, their members, and their counsel made a monetary
contribution to the preparation or submission of this brief. Fed. R. App. P. 29(a).
All parties consented to the filing of this brief.

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harm to millions of student loan borrowers—including millions in their own states.

The effects of the first two, issued nearly simultaneously on June 24, by the

Eastern District of Missouri and the District of Kansas are compounded by the

much broader injunction issued by this Court on August 9. Although the Plaintiff

States filed this action to challenge only one of the several income-driven

repayment (IDR) plans, the SAVE plan, see Compl. ¶ 7, Missouri v. Biden, No. 24-

cv-00520-JAR (Apr. 9, 2024), the injunction in place extends beyond that plan and

impairs the rights of borrowers not enrolled in SAVE, Missouri v. Biden, 2024 WL

3738157, at *4 (8th Cir. Aug. 9, 2024).

      The impact of enjoining the final Rule far exceeds the scope of the lawsuit

and causes further unwarranted harm to borrowers who are already beleaguered by

the tremendous upheavals in the system over the past several years. See Dakotans

for Health v. Noem, 52 F.4th 381, 392 (8th Cir. 2022) (requiring preliminary

injunctions be “narrowly tailored to remedy only the specific harms shown by the

plaintiffs”); Walker v. Lockhart, 678 F.2d 68, 70 (8th Cir. 1982) (observing that a

preliminary injunction and an injunction pending appeal involve “the same

inquiry”).

      Moreover, the injunctions in this case have thoroughly disrupted, rather than

preserved, the status quo in the sprawling federal student loan system. See

Morehouse Enters., LLC v. ATF, 78 F.4th 1011, 1016 (8th Cir. 2023) (explaining


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that courts must evaluate “whether the balance of equities so favors the movant

that justice requires the court to intervene to preserve the status quo until the merits

are determined”). The federal government currently holds $1.62 trillion in federal

student loan debt for nearly 43 million borrowers.2 As of January 2024, nearly a

quarter of those borrowers—accounting for $397 billion in student loan balances—

were enrolled in the SAVE plan.3 The number is likely even higher today as more

borrowers have become aware of the plan and its important benefits.4 Upon

graduation and entering repayment, student borrowers elect from a number of

statutory and regulatory repayment plans, including four IDR plans that predicate

monthly payment amounts on borrowers’ income. Borrowers can choose among

the different plans that work best for them and their families. The SAVE plan is

one such IDR plan, crafted with the needs of borrowers in mind as student loan

payments have grown increasingly unaffordable.



2
  Federal Student Aid Portfolio Summary (2024 Q2), Fed. Student Aid, U.S. Dep’t
of Educ. (“FSA”), https://studentaid.gov/sites/default/files/fsawg/datacenter/
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3
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4
  See Federally Managed Portfolio by Repayment Plan (2024 Q2), FSA,
https://studentaid.gov/sites/default/files/fsawg/datacenter/
library/DLPortfoliobyRepaymentPlan.xls (demonstrating an increase in SAVE
enrollment by March 31, 2024).

                                           3
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       By blocking the final Rule, which both created the SAVE plan and included

a “restructuring” of the entire IDR system,5 the injunctions prompted widespread

unpredictability and uncertainty in the system and are causing student loan

borrowers significant financial and personal distress. In recognition of this chaos,

the Department has suspended monthly payments for borrowers who are enrolled

in SAVE—i.e., it imposed an administrative forbearance. Yet temporary relief

from payments only prolongs the problem for borrowers. Also, borrowers cannot

make informed choices among the plethora of repayment options available as long

as different administrative aspects of IDR plans are blocked. For the nearly ten

million borrowers who are already facing financial hardship and are past-due on

their payments as is,6 the injunctions compound their problems because—unless

the final Rule is reinstated—they will suddenly have to contend with likely higher

monthly payments than they anticipated, and they may not have an affordable

option available. Finally, the injunctions have disrupted the already precarious

operations of the Department’s student loan servicers, which possess billions of

dollars’ worth of contracts to administer the massive federal student loan industry



5
 Improving Income Driven Repayment for the William D. Ford Federal Direct
Loan Program and the Federal Family Education Loan (FFEL) Program, 88 Fed.
Reg. 43,820, 43820 (July 10, 2023) (final Rule).
6
 See GAO Report, supra note 3, at 18 (finding that 29 percent of all student loan
borrowers were at least a day late on their loans).

                                          4
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and interface with borrowers daily.7 These interruptions threaten the ongoing

stability of the program.

       The severe economic consequences for borrowers, as well as the widespread

disruption to a multi-trillion-dollar public lending regime, point to the considerable

public interests favoring the continued implementation of the SAVE plan and final

Rule. See Winter v. NRDC, 555 U.S. 7, 24 (2008) (admonishing that “courts of

equity should pay particular regard for the public consequences in employing the

extraordinary remedy of injunction”). In contrast to the tremendous and well-

documented harm to borrowers posed by halting the final Rule, the States have

offered little but speculation and supposition about the plan’s impact to the public

fisc. See Mot. for Stay/TRO at 46-49, Missouri, No. 24-cv-00520-JAR (E.D. Mo.

Apr. 6, 2024) (ECF No. 10) (“Stay/TRO Mot.”);8 Emergency Mot. for Inj. Pending

Appeal at 25-27, Missouri, No. 24-2332 (8th Cir. Aug. 12, 2024) (“Emerg. Mot.”).

Nor can they demonstrate that stopping the final Rule is congruent with Congress’s

expressed goals to make higher education more accessible. They have therefore


7
  See U.S. Gen. Services Admin., United Servicing and Data Solution (USDS)
Awards Notice - Central Research Inc., Notice ID
USDS_Awards_91003123D0002 (Apr. 24, 2023),
https://sam.gov/opp/0264de6ac3354dd6814455e535e783e9/view (awarding one of
five contracts for $16 billion dollars to service federal student loans).
8
 The States’ additional speculative harms raised in the court below rely on theories
of injury that that court did not address and lacked any evidentiary support. See
Stay/TRO Mot. at 46-48.

                                          5
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failed to demonstrate that the equities clearly weigh in their favor to warrant the

injunctions, including the injunction issued by the motions panel, in this case. See

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (requiring “a clear showing” in

order to grant a preliminary injunction); Walker, 678 F.2d at 70.

        Borrowers have relied for decades on the stability and security of IDR plans

like SAVE to help pay back their loans at affordable and predictable rates. That

was the status quo before the States filed this action. The injunctions in this matter

have unnecessarily sown chaos in the system, threatening the financial well-being

of millions of borrowers. Accordingly, the injunctions should be vacated, and the

judgment of the district court reversed.

                                   ARGUMENT

I.      THE SAVE PLAN BENEFITS MILLIONS OF BORROWERS BY
        INCREASING AFFORDABILITY AND SIMPLIFYING THE
        COMPLICATED FEDERAL STUDENT LOAN PROGRAM.

        The final Rule faithfully implements Congress’s intent to “increase

educational opportunities” and help students access the “benefits of postsecondary

education.” Biden v. Nebraska, 143 S. Ct. 2355, 2362 (2023). The injunctions

widely displace the status quo providing stability and consistency to millions of

student loan borrowers.




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      A.     The Federal Student Loan Program, Including Income-Driven
             Repayment Plans, Is Intended To Expand Access To Affordable
             Higher Education.

      Congress created—and has repeatedly reinforced—the federal student loan

program as part of its expansive regime enacted through the federal Higher

Education Act of 1965 (HEA) and its amendments to “make higher education more

widely accessible to the populace,” R.I. Higher Educ. Assistance Auth. v. Dep’t of

Educ., 929 F.2d 844, 847 (1st Cir. 1991), and “provide financial assistance to

students in higher education.” Cliff v. Payco Gen. Am. Credits, Inc., 363 F.3d

1113, 1122-23 (11th Cir. 2004); see Pub. L. 89-329, 79 Stat. 1232 (1965), codified

at 20 U.S.C. § 1070(a) et seq. Congress has affirmed a national policy “that every

citizen is entitled to an education to meet his or her full potential without financial

barriers.” 20 U.S.C. § 1221-1(2) (emphasis added).

      The William D. Ford Federal Direct Loan Program, created in 1994, furthers

those ambitious ends by enabling students, through a wide-ranging portfolio of

loans, to borrow money to cover the increasingly higher costs of tuition, room and

board, and other expenses. See id. § 1087a(a)(1). Congress also conferred wide-

ranging authority to the Department to flesh out the ambitious program through

interpretive regulations. Id. § 1087e(d)(1)(d) (instructing the Department to craft

“criteria” and a variety of repayment plans with “varying annual repayment

amounts” in order to administer the student loan program); see Labickas v. Ark.


                                           7
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State Univ., 78 F.3d 333, 334 (8th Cir. 1996) (noting that “[t]he HEA specifies that

the Secretary of Education has the power to carry out the Act’s purposes”). Today,

nearly forty-three million borrowers have $1.62 trillion in federal student loans that

may be eligible for IDR plans like the SAVE plan.9 Those borrowers hail from

every state in the nation and every age group, ranging from younger than twenty-

four to older than sixty-two years of age.10

        The direct student loan program is a wide-ranging web of financial

transactions with the nation’s most significant creditor. See Dep’t of Agric. Rural

Hous. Rural Dev. Serv. v. Kirtz, 601 U.S. 42, 45 (2024) (observing that the federal

government is “one of the Nation’s largest lenders”). While its operations are

firmly set out by law, in many ways it functions like any conventional private

lending program. When borrowers take out their loans for the first time, they sign

legally enforceable promissory notes with the Department;11 they agree to have

their information furnished to the national credit bureaus and to a number of




9
    Federal Student Aid Portfolio Summary (2024 Q2), supra note 2.
10
  Income-Driven Portfolio by Borrower Age (2024 Q2), FSA,
https://studentaid.gov/sites/default/files/fsawg/datacenter/library/IDRPortfolio-by-
Age.xls; Federal Student Loan Portfolio by Borrower Location (2024 Q2), FSA,
https://studentaid.gov/sites/default/files/fsawg/
datacenter/library/Portfolio-by-Location.xls.
11
     See Master Promissory Note (MPN), FSA, https://studentaid.gov/mpn/.

                                          8
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repayment obligations set forth by the Department.12 In exchange, the Department

offers seven statutorily created or authorized repayment options, including four

IDR plans.13 See 20 U.S.C. § 1087e(d)(1) (setting forth five statutory repayment

plans and authorizing the Department to issue additional ones); 34 C.F.R. §

685.209(a) (setting forth the terms of the four IDR plans). In other words,

borrowers, and, often their parents, are informed from the outset of their variety of

lending rights and obligations, and that their pursuit of higher education comes

with important financial strings attached.

           The seven different repayment plans operate in tandem, and they are

intended for borrowers to comparison shop and choose the plan that best fits their

financial situation.14 Each plan offers different monthly payments and loan

repayment periods (generally ten, twenty, and twenty-five years), yielding different

total costs to borrowers over the lifetime of their loans. Borrowers can even assess

and compare their repayment options using free online calculators like Federal




12
  See, e.g., William D. Ford Federal Direct Loan Program Direct Subsidized Loan
and Direct Unsubsidized Loan Borrower’s Rights and Responsibilities Statement,
FSA, https://studentaid.gov/app/viewCounselingHtml.
action?version=10&type=subunsub.
13
     Id.
14
  Repaying Loans 101, FSA, https://studentaid.gov/manage-
loans/repayment/repaying-101 (“You have options for how to repay.”)

                                             9
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Student Aid’s Loan Simulator, which use borrowers’ actual loan data to estimate

their payment obligations on each available plan.15

        The IDR plans are one subset of these repayment options and play a crucial

role in effectuating the congressional purpose underlying the HEA to make higher

education more attainable and affordable. These plans determine borrowers’

monthly payments as a function of their discretionary income, i.e., income above a

percentage of the federal poverty guidelines and set by regulation. See 34 C.F.R.

§ 685.209(b). Although the four IDR plans share core characteristics, these

characteristics vary meaningfully with respect to the calculation of monthly

payments, the length of the repayment term, and the amount of discretionary

income that factors into the equation. Today, the four plans that are in effect are:

the Income-Based Repayment (IBR) plan, the Income-Contingent Repayment

(ICR) plan, the Pay As You Earn (PAYE) plan, and the Revised Pay As You Earn

(REPAYE) plan—the latter renamed the SAVE plan. 34 C.F.R. § 685.209(a); see

App. Br. at 4-9 (describing the legislative and regulatory history of these plans); 88

Fed. Reg. at 43,822 (discussing determination to change the name of the REPAYE

plan). Although certain aspects of each plan are presently enjoined, all four plans




15
  See, e.g., Calculate Your Federal Student Loan Repayment Options with Loan
Simulator, FSA, https://studentaid.gov/loan-simulator/.

                                          10
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are currently available to borrowers, although each has unique eligibility

requirements.

        B.    The Final Rule Serves Critical Salutary Ends To Help Ease Rising
              Unaffordability And Simplify The Income-Driven Repayment
              Plan System.

        As the costs of higher education have skyrocketed and the student loan

program has ballooned, borrowers have increasingly become ensnared in a crisis of

unaffordability.16 The consequences of default can be catastrophic, including: a

collapsed credit score—which impacts their ability to further engage in the lending

market, find a job or secure housing, or start a business, see Kirtz, 601 U.S. at 45

(noting the importance of a credit score)—the risk of going into debt collection and

having judgments issued against the borrower, having wages garnished and bank

accounts levied, and more.17




16
   Council of Economic Advisors, White House, The Economics of Administration
Action on Student Debt (Apr. 8, 2024), https://www.whitehouse.gov/cea/written-
materials/2024/04/08/the-economics-of-administration-action-on-student-debt/
(attributing student debt crisis, in part, to “rapid and unforeseeable rises in prices
and declines in college wage premia,” causing “decades of ‘unlucky’ college-entry
cohorts affected by a form of recessionary scarring”).
17
  See Student Loan Delinquency and Default, FSA, https://studentaid.gov/manage-
loans/default; Phillip Oliff, At What Costs? The Impact of Student Loan Default on
Borrowers, Pew Charitable Trusts (Feb. 16, 2023),
https://www.pewtrusts.org/en/research-and-analysis/issue-briefs/2023/02/at-what-
cost-the-impact-of-student-loan-default-on-borrowers.

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        The Department issued the SAVE plan and the final Rule in part to address

the unaffordability crisis, as well as to streamline the complicated IDR program.

By issuing the SAVE plan, the Department sought to offer a plan that meets

borrowers’ affordability needs, see 88 Fed. Reg. at 43,822 (“the Department took

the proper steps to develop these rules to help make the repayment plans more

affordable”), and to funnel nearly all borrowers into this more-affordable plan by

sunsetting eligibility for the PAYE and ICR plans, see 34 C.F.R. §

685.209(c)(4)(iv) (limiting new enrollment to PAYE after July 1, 2024); id. §

685.209(c)(5)(iv) (limiting new enrollment to ICR after July 1, 2024); 88 Fed. Reg.

at 43,847 (discussing why “[s]tudent borrowers will not be eligible to access

PAYE or ICR after July 1, 2024”). The final Rule therefore created a new, simpler

status quo for borrowers, which began in July 2023, when the Rule’s first

provisions took effect.18

        The SAVE plan—and IDR plans in general—thus serve a critical goal by

helping make it possible for borrowers to better make repayment, attain financial

stability, and “avoid delinquency and default.” See 88 Fed. Reg. at 43,820

(explaining that the Rule is intended to “mak[e] it easier for individuals to



18
  U.S. Dep’t of Educ., How the New SAVE Plan Will Transform Loan Repayment
and Protect Borrowers (June 30, 2023), https://www2.ed.gov/policy/highered/
reg/hearulemaking/2021/idrfactsheetfinal.pdf (discussing early implementation of
certain SAVE provisions).

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successfully manage their debt”). The Department found that the Rule will assist

borrowers who are “trapped under exorbitant monthly payments and that it will

help many borrowers avoid delinquency, default, and their associated

consequences.” Id. at 43,822. The administrative record from the final Rule’s

rulemaking is replete with examples from student borrowers who desperately

needed more affordable options to repay their burdensome student loans. For

example, one borrower wrote:

        The changes to the idr plan will allow me to be able to afford basic
        needs such as food and utilities. Without this new plan I will not be
        able to afford my basic needs and my entire household will suffer.
        This is a crucial change that will benefit many families allowing
        them to keep a house and food over the heads of children. I have
        paid on my loans for years but the balance just keeps growing.19

Another borrower commented:

        The IDR payment plan is important to me and my family. Without
        this plan I would not be able to afford my house payments, keep my
        lights on and keep my children fed. Even though I’m making a
        decent income with inflation we are barely scraping by even with
        student loan payments on hold.20




19
   Comment ED-2023-OPE-0004-6446, Improving Income-Driven Repayment for
the William D. Ford Federal Direct Loan Program, ED-2023-OPE-0004-0001
(Jan. 31, 2023), https://www.regulations.gov/comment/ED-2023-OPE-0004-6446
(sic).
20
  Comment ED-2023-OPE-0004-5558, Improving Income-Driven Repayment for
the William D. Ford Federal Direct Loan Program, ED-2023-OPE-0004-0001
(Jan. 30, 2023), https://www.regulations.gov/comment/ED-2023-OPE-0004-5558.

                                          13
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         The final Rule therefore reflects both Congress’s intent for the HEA to give

access to education without financial barriers and the statute’s mandate to offer a

repayment plan that is affordable by pegging payments to borrowers’ income. This

has been the status quo since the Rule took effect in July 2023, and it was the

status quo that the injunctions upset in 2024.

II.      THE INJUNCTIONS IN THIS CASE CREATE CONSIDERABLE
         UNCERTAINTY AND HARM TO BORROWERS AND THE
         STUDENT LOAN SYSTEM.

         The injunctions against the continued implementation of the final Rule cause

current, specific, and compounding harms to borrowers. Millions of borrowers

across the country today cannot make decisions about their monthly payments.

Alternatively, they have had their loans placed in administrative forbearance,

which suspends their obligation to make their monthly payments, meaning that in

the long run, borrowers will end up in debt for longer than they would absent the

forbearance. Rather than preserve the status quo as they must, see Morehouse, 78

F.4th at 1016, the injunctions have worsened circumstances for borrowers and

exacerbated the programs of the massive student loan system. This is especially

true given that the present injunction prohibits debt cancellation even for borrowers

who are enrolled in plans other than SAVE but are still subject to the final Rule.

These negative effects far outweigh the States’ speculative harm from allowing

borrowers to access the SAVE plan.


                                           14
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      A.     Because Of The Injunctions, Borrowers Cannot Make
             Fundamental Decisions About Their Loan Repayment At A Time
             When Millions Must Do Exactly That.

      By blocking certain key components of the final Rule—forgiveness of

principal or interest for any loan governed in whole or in part by the final Rule

(effectively all loans), waiver of accrued interest, and SAVE’s payment

calculations—the injunctions create considerable uncertainty and distress for all

federal student loan borrowers. They also have the practical effect of preventing

borrowers from making informed decisions about what is often their household’s

largest financial obligation. The injunctions have upended the status quo and

therefore thrown the already-fragile student loan landscape into chaos.

       Moreover, limiting access to SAVE harms every federal student loan

borrower to some degree. The nearly eight million borrowers already enrolled in

the plan cannot determine whether they should switch to another plan if they

cannot know with certainty what each plan offers, including the potential for

eventual debt cancellation. The same is true for borrowers not yet enrolled in

SAVE but who could otherwise consider the plan, or who are enrolled in another

IDR plan and now are uncertain about the ultimate length of their repayment term.

      Before the injunctions, borrowers could weigh the differences between plans

and make informed decisions about which plan, including SAVE, best suits their




                                         15
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needs. As of March 2024, 7.83 million borrowers were enrolled in SAVE.21 Now

that the Department can no longer charge borrowers enrolled in SAVE pursuant to

that plan’s payment calculation, those borrowers cannot make progress on paying

down their debt. However, since debt cancellation through several of the other IDR

plans is no longer available to borrowers due to the injunctions, a borrower cannot

know what their repayment obligations under one of those plans will be if they

were to switch. A borrower might choose to switch to a different non-income-

driven plan and make higher monthly payments for the certainty that their

repayment term will end after ten years, rather than paying lower amounts in

perpetuity—or, as the States have suggested, rather than facing a balloon payment

or default at the end of twenty or twenty-five years. See Emerg. Mot. at 25.

        Because of the injunction, borrowers can no longer meaningfully assess in

an apples-to-apples fashion the bundle of features of each plan discussed above to

determine which is the most appropriate for their individual circumstances. For

example, although a borrower knows that her 10-year standard plan payment will

only be paid for ten years until the balance is paid off, she cannot meaningfully

compare that plan to an IDR plan with a lower monthly payment if she does not

know for how long she will have to make that lower payment. This financial

conundrum is not hypothetical. Many borrowers have contacted the Student

21
     See Federally Managed Portfolio by Repayment Plan, supra note 4.

                                          16
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Borrower Protection Center expressing their distress at being unable to make

decisions. One borrower from North Carolina, for example, explained that, due to

the injunctions, she cannot continue on SAVE and gain credit toward Public

Service Loan Forgiveness; however, she also cannot enroll in other IDR plans

(PAYE or ICR) because the parts of the final Rule still in effect prevent new

enrollment in those plans. See 34 C.F.R. § 685.209(c)(4)(iv) (limiting new

enrollment to PAYE after July 1, 2024); id. § 685.209(c)(5)(iv) (limiting new

enrollment to ICR after July 1, 2024).22

        B.    The Injunctions Pose Particular Harms To Borrowers Facing
              Delinquency And Default.

        Also, for some specific and readily identifiable groups of borrowers, this

inability to meaningfully select a repayment plan is particularly acute. In the first

quarter of this year, the first time that delinquencies were reported since the start of

the pandemic in 2020, 7.12 million borrowers were between thirty-one and ninety

days delinquent on their student loans.23 During the second quarter, that number

rose to 7.17 million borrowers, owing a total of $206.8 billion dollars. These


22
  Although the Court’s injunction prevents certain aspects of the final Rule from
taking effect, the Rule’s provisions that prevent new enrollment in PAYE and ICR
were not enjoined, and so as of July 1, 2024, new enrollment in these plans is no
longer permitted.
23
  Federal Student Loan Portfolio, Portfolio by Delinquency Status (DL, ED-Held
FFEL, ED-Owned), FSA, https://studentaid.gov/sites/
default/files/fsawg/datacenter/library/DLPortfoliobyDelinquencyStatus.xls.

                                           17
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borrowers currently benefit from the Department’s “Onramp to Repayment,” a

one-year period designed to help borrowers transition from the COVID-19

pandemic payment pause by protecting borrowers who are unable to pay their

monthly payments from having their delinquencies reported to the credit borrowers

and their accounts eventually directed to collections.24

        However, the onramp period is set to end on September 31, 2024.

Throughout the onramp period, the Department and its contracted loan servicers

widely encouraged enrollment in SAVE to borrowers so that they could reduce

their monthly payments.25 Because SAVE has been enjoined, with the onramp

likely to end next month, borrowers are facing a bait-and-switch: after having been

advised that SAVE would be the most affordable option for them, now they must

prepare to cover higher monthly payments—or, in the worst case scenario, they

may not be able to afford them.26 Given that already nearly 30 percent of


24
 Restarting Student Loan Payments, FSA, https://studentaid.gov/
manage-loans/repayment/prepare-payments-restart.
25
  See, e.g., The Saving on a Valuable Education (SAVE) Plan Offers Lower
Monthly Loan Payments, FSA, https://studentaid.gov/announcements-events/save-
plan; @Nelnet, X (Dec. 19, 2023, 1:43 P.M.),
https://x.com/Nelnet/status/1737181779386134576 (“Have questions about the
new SAVE Plan? We created a short video that summarizes the plan, details, the
benefits, and walks you through the application process.”).
26
  While the Department placed all borrowers enrolled in SAVE on a forbearance
after this Court issued its injunction, SAVE Plan Court Actions: Impact on
Borrowers, FSA, https://studentaid.gov/announcements-events/save-court-actions,
that forbearance is only temporary and may only prolong the inevitable result for

                                          18
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borrowers are in “past due” status,27 once the onramp concludes, delinquencies will

likely soar. Blocking the SAVE plan and its affordable repayment options only

increases the likelihood of delinquencies and, ultimately, defaults.

         The same is true for the over six million borrowers currently in default on

their student loans.28 These borrowers can return their loans to good standing

through the Fresh Start program, a one-time opportunity that expires next month.29

When defaulted borrowers enroll in Fresh Start, however, the Department

recommends borrowers enroll in an IDR plan, too, to help make their new

payments affordable.30 These borrowers, who by definition have experienced

financial distress, cannot confidently select a plan without knowing all of its terms

and without knowing how that plan compares to other available repayment plans.




borrowers if the Plan is permanently enjoined: having to enroll in a different, less
affordable repayment plan.
27
  See GAO Report, supra note 3, at 4. This number may be under representative
because, pursuant to the onramp, the Department has been actively moving
borrowers who miss payments from a delinquent status back into a current status.
28
  FSA, Federal Student Aid Posts New Quarterly Reports to FSA Data Center
(GENERAL 23-119) (Dec. 20, 2023), https://fsapartners.ed.gov/
knowledge-center/library/electronic-announcements/2023-12-20/federal-student-
aid-posts-new-quarterly-reports-fsa-data-center.
29
  See Get Out of Default With Fresh Start, FSA,
https://studentaid.gov/announcements-events/default-fresh-start (“Fresh Start ends
Sept. 30, 2024).
30
     Id. (advising borrowers “Enroll in an Affordable Repayment Plan”).

                                           19
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        Finally, more than one million borrowers exit the post-school grace period

on their loans every six months,31 at which point they must select a repayment

plan. These borrowers are generally recent graduates from their college, university,

or graduate program. They are new to repayment and to the workforce, and so they

have a dire need to select a repayment plan that sets them on a path for financial

stability. Today, these borrowers are unable to make a fully informed decision

about which plan is most appropriate for their circumstances—affecting their

finances for years to come.

        C.    The Injunctions Create A Great Administrative Burden For
              Student Loan Servicers, Jeopardizing The Stability Of The
              Student Loan System Itself.

        An additional foreseeable factor that flows from the harm to borrowers of

enjoining SAVE is the added stress to federal student loan servicers. The

Department does not administer federal student loans directly; rather, it contracts

with private companies to manage the day-to-day operations of processing

payments, assisting borrowers, and maintaining account records.32 See 20 U.S.C. §




31
   See Portfolio by Loan Status (2024 Q2), FSA,
https://studentaid.gov/sites/default/files/fsawg/datacenter/library/PortfoliobyLoanS
tatus.xls.
32
  See, e.g., U.S. Gen. Services Admin., Legacy Loan Servicing Contract -
MOHELA, ED-FSA-11-D-0012 (Sept. 27, 2011),
https://sam.gov/opp/d9e44d6034ed4edbb0880b0bceb3bd42/view.

                                          20
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1087f(b)(4). These companies are often borrowers’ primary points of contact for

managing their loans.

        Understandably, borrowers turn to their assigned student loan servicer for

assistance with their accounts, in part because servicers encourage borrowers to

contact them for help.33 Student loan servicers, however, have historically failed to

meet borrowers’ needs and to adapt quickly to program and policy changes.34 Most

recently, when federal student loan payments resumed in October 2023, for

instance, borrowers seeking assistance from their servicers encountered long call


33
  See, e.g., Get to Know MOHELA, Mo. Higher Education Loan Auth.,
https://mohela.studentaid.gov/DL/common/about.aspx (“We promise to listen,
offer customized solutions to meet your specific needs, and provide superior
guidance as your resource expert.”); Welcome, Nelnet, Inc.,
https://nelnet.studentaid.gov/welcome (“We’re here to help you find repayment
options and to process your loan payments. We’re committed to providing
excellent service and helping you have a successful student loan experience.”)
34
  See, e.g., CFPB, Student Loan Servicing: Analysis of public input and
recommendations for reform (Sept. 2015),
https://files.consumerfinance.gov/f/201509_cfpb_student-loan-servicing-
report.pdf; Press Release, CFPB Sanctions Edfinancial for Lying about Student
Loan Cancellation, CFPB (Mar. 30, 2022),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-sanctions-edfinancial-
for-lying-about-student-loan-cancellation/; Navient agrees to $1.85 billion in
student loan settlement; $53 million returning to Missouri borrowers, KY3 (Jan.
13, 2022), https://www.ky3.com/2022/01/13/navient-agrees-185-billion-student-
loan-settlement-53-million-returning-missouri-borrowers/; Commc’ns Workers of
Am. & SBPC, Customer Disservice: Examining Maximus, the federal contractor
that just became the largest student loan company in the world (March 2022),
https://protectborrowers.org/wp-
content/uploads/2022/03/CWA_SBPC_MAXIMUS.pdf; Am. Fed’n of Teachers &
SBPC, The MOHELA Papers (Feb. 2024), https://www.mohelapapers.org/.

                                          21
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wait times, struggled to use inoperable web portals and other self-help options, and

received inaccurate information from customer service representatives.35

        Removing a key tenet of the current student loan landscape by enjoining

SAVE and other aspects of the IDR plans pours fuel on an already-raging fire. The

confusion that it causes borrowers foreseeably results in an increased need for

assistance, which falls predominantly on servicers to provide. This increase in

demand occurs at the same time that the servicers themselves are working to

understand and implement the changes. This is true for any change to the system

but is particularly acute with respect to the present injunctions—which, unlike

regular agency rulemaking and program changes, were not subject to an open

process, such as the final Rule’s statutorily mandated negotiated rulemaking at

which servicers had a seat at the table,36 and which did not include a delayed

effective date to allow for measured implementation. Contra 88 Fed. Reg. at

43,820 (final Rule published July 10, 2023 with rolling effective dates).




35
  See Press Release, CFPB Report Identifies Challenges Faced by Borrowers in
Resumption of Student Loan Payments, CFPB (Jan. 5, 2024),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-report-identifies-
challenges-faced-by-borrowers-in-resumption-of-student-loan-payments/.
36
   U.S. Dep’t of Educ., 2021 Negotiated Rulemaking: Affordability and Student
Loans Committee (Oct. 4, 2021), https://www2.ed.gov/policy/highered
/reg/hearulemaking/2021/2021negotrulemakingcomlist.pdf (listing MOHELA as
negotiator).

                                          22
     Appellate Case: 24-2351   Page: 32   Date Filed: 08/26/2024 Entry ID: 5428260
        The Consumer Financial Protection Bureau, the federal agency tasked with

protecting student loan borrowers,37 has also raised serious concerns about the

harm to borrowers from strains on student loan servicers. The Bureau’s head of

supervision recently warned:

        Because the injunction entered by the United States District Court for the
        Eastern District of Missouri concerns the availability of loan discharge under
        the SAVE plan, and the availability and timeline of discharge is a highly
        material element of income-driven repayment plans, borrowers are likely to
        seek clarification about the impact of the Missouri injunction in addition to
        the impact of the injunction entered by this Court. This additional
        complexity would further increase demand for servicer contact and
        exacerbate the risk of servicing breakdowns that adversely affect borrowers.

Decl. of Lorelei Salas, Alaska v. Dep’t of Educ., No. 24-cv-01057 (D. Kan. June

27, 2024) (ECF No. 81-2).

        The uncertainty that enjoining student loan repayment plans causes is

reflected in the Department’s decision to place all SAVE-enrolled borrowers into

administrative forbearances until the present litigation is resolved.38 Maintaining

the student loan system without the complete and intact suite of repayment plans is

nonetheless unworkable. The Department’s action does not completely blunt the



37
  Although the Department oversees student loan servicers, see generally 20
U.S.C. § 1087f, the CFPB has defined student loan servicing as a larger market
participant subject to its authority. See 12 C.F.R. pt. 1090.
38
  See Department of Education Updates on Saving on a Valuable Education
(SAVE Plan), Dep’t of Educ., https://www.ed.gov/Save.

                                          23
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injunctions’ impact on borrowers, who are now stuck in limbo. For example, a

teacher in Nevada recently contacted the SBPC to share that he was one month

away from having his debts cancelled through Public Service Loan Forgiveness.

Due to the injunctions, however, he cannot accrue his final qualifying payment,

and he is stuck with his loans instead of being debt free. As a result, he is

contemplating moving out of state to live with his parents to save money.

III.   THE EQUITIES FAVOR KEEPING INCOME-DRIVEN
       REPAYMENT PLANS, INCLUDING THE SAVE PLAN, INTACT.

       The financial and social maelstrom that has befallen millions of borrowers

makes plain the overwhelming harm to the public caused by the multiple

overlapping—and in some cases conflicting—injunctions to the final Rule. As

described above, the consequences to borrowers far outweigh the speculative and

tenuous harms to the States, which are indirect by means of an unsubstantiated

financial harm to MOHELA. See Winter, 555 U.S. at 24. The equities and public

interest expressed in needs of the millions of borrowers who were promised

stability and affordability, as well as those of the student loan system itself, counsel

in favor of keeping the final Rule in place. See Morehouse, 78 F.4th at 1018

(noting the equities and the public interests “merge” in an action like this one).

       The Court must take the true cost to borrowers into its consideration of

effect of any injunction of the final Rule. Borrowers have a compelling interest in



                                          24
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ensuring that they can pay back their loans and avoid default, which must be

appropriately weighed. See TD Bank N.A. v. Hill, 928 F.3d 259, 284 (3d Cir. 2019)

(declaring that “[t]o determine where the public interest lies, a court should weigh

the advantages and disadvantages to the public”); Bernhardt v. Los Angeles Cty.,

339 F.3d 920, 931 (9th Cir. 2003) (noting, in case involving injunction against

government entity, that “[t]he public interest inquiry primarily addresses impact on

non-parties rather than parties”). By interfering with borrowers’ ability to continue

to repay their loans, the injunctions disrupt millions of pre-existing contractual

relationships between borrowers and their lender, the Department of Education.

Although the district court weighed several of the negative effects from enjoining

SAVE raised by the Department and acknowledged that borrowers already

enrolled in SAVE “have an interest in ensuring consistency in loan repayment

programs,” see Missouri v. Biden, 2024 WL 3104514, at *28-29 (E.D Mo. June 24,

2024), it failed to consider an even more fundamental fact: borrowers cannot

determine which repayment plan to select while the terms of any one plan are

uncertain. Nor did the court factor in the timing of enjoining aspects of federal

student loan repayments, as millions of borrowers must select affordable plans in

the coming weeks or risk delinquency and default. See supra Sections II.A-B.

      Likewise, the federal government has a compelling interest in preserving the

stability, efficiency, and regularity of the federal loan repayment system. See


                                          25
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Brannan v. United Student Aid Funds, Inc., 94 F.3d 1260, 1264 (9th Cir. 1996)

(noting, “in accordance with the congressional intent embodied in the HEA, the

public interest in having a stable student loan program”). By halting the final Rule

months after it was finalized and adopted and millions of borrowers had enrolled in

SAVE, causing the Department to place these borrowers into an administrative

forbearance, the injunctions jeopardize the certainty and predictability that is

crucial to the effective operations of the federal government. See Borough of

Duryea, Pa. v. Guarnieri, 564 U.S. 379, 386 (2011) (stating that “[t]he government

has a substantial interest in ensuring that all of its operations are efficient and

effective”). It also hamstrings the Department’s flexibility to create income-driven

repayment plans that best suit the needs of borrowers today. See Educ. Assistance

Corp. v. Cavazos, 902 F.2d 617, 629 (8th Cir. 1990) (observing that “the [HEA]

needs to be responsive to ‘ever-changing’ conditions”). Unlike the States’ alleged

harms, the sweeping instability that has resulted from the injunctions in recent

weeks demonstrates the concrete and acute harms to the government’s ability to

maintain the student loan system. If it was not clear to the district court that the

government’s interest outweighed those of the States, it should be clear now.

      Even more concerningly, the States’ claims that the debt cancellation

inherent to the long-standing IDR repayment plans exceeds the Secretary’s

statutory authority, Emerg. Mot. at 18-21, is unfounded and, if adopted, would


                                           26
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undermine the Department’s position as the lender-of-first-resort for postsecondary

education and throw the entire federal loan system into chaos. To the contrary, the

States’ position contravenes Congress’s intent, as expressed in the Higher

Education Act, to expand opportunities for Americans to seek—and be able to

afford—higher education. See United States v. Oakland Cannabis Buyers’ Co-op.,

532 U.S. 483, 497 (2001) (“[A] court sitting in equity cannot ignore the judgment

of Congress, deliberately expressed in legislation”); 11A Wright & Miller, Federal

Practice & Procedure § 2948.4 (3d ed. 2025) (“The public interest also may be

declared in the form of a statute”). Because the injunctions ignore the statutory

dictates of the Higher Education Act, they run counter to—rather than advance—

the public interest.

      The public interest of maintaining a stable student loan system and the very

real and tangible consequences for borrowers thus strongly militates in favor of the

Department’s position and against the injunctions. By contrast, public interest

concern about a generalized harm to taxpayers is wholly conjectural and

insufficient. See Missouri, 2024 WL 3104514, at *28-29. Concerns about the

impact to taxpayers of government programs are better resolved by the legislative

branch, not the courts. Cf. ASARCO Inc. v. Kadish, 490 U.S. 605, 613 (1989)

(stating, with regards to the unavailability of taxpayer standing in federal court,

that “a taxpayer’s interest in the moneys of the Treasury is shared with millions of


                                          27
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others, is comparatively minute and indeterminable; and the effect upon future

taxation, of any payments out of the funds, so remote, fluctuating and uncertain,

that no basis is afforded for judicial intervention” (cleaned up)). Also, just as “it

would be ‘pure speculation’ to conclude that an injunction against a government

expenditure or tax benefit ‘would result in any actual tax relief’ for a taxpayer-

plaintiff,” Ariz. Christian Sch. Tuition Org. v. Winn, 563 U.S. 125, 136 (2011)

(quoting ASARCO, 490 U.S. at 614), it is equally speculative to conclude that an

injunction against a rule implementing a loan repayment program would cause tax

relief for non-plaintiffs. That is especially true in light of the benefits to the public

fisc of making repayment affordable, not extending repayment timelines, and not

making loan recoupment so burdensome that borrowers fall behind on their

payments.

      Over the past several years, millions of borrowers have been whipsawed by

economic instability, rising unaffordability, and repeated complexities and shifts in

the student loan market. The SAVE plan provided important clarity and financial

and programmatic benefits to borrowers—until the start of this litigation and the

resulting injunction by the court below and this Court. We urge this Court to

recognize the enormous and negative impact that these injunctions have had on

borrowers, and to vacate all injunctions.




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                                 CONCLUSION

      For the foregoing reasons, the decision of the district court should be

reversed and the preliminary injunction vacated. The injunction pending appeal

entered by this Court should also be vacated.




Dated: August 25, 2024                  Respectively submitted,

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                       CERTIFICATE OF COMPLIANCE


      This brief complies with the type-volume limitation of Fed. R. App. P.

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